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                         IN THE UNITED STATES DISTRICT COURT FOR
                              THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION
                                CASE NO. 8:17-cv-01890-CEH-JSS

JOHN NORTHRUP, Individually and on behalf
of a Class of Similarly Situated Individuals,

      Plaintiff,

vs.

David E. Lindsey; Independent Truckers Group, Inc.;
Agentra, LLC; Hooray Health, LLC; and
MyHealthPass, LLC

      Defendants.
______________________________________/

                   PLAINTIFF’S UNOPPOSED MOTION TO EXTEND DEADLINE
                       TO RESPOND TO SUMMARY JUDGMENT MOTION

          Plaintiff John Northrup, on behalf of himself and all others similarly situated, moves to

extend his deadline to respond to Defendants’ Motion for Summary Judgment. In support,

Plaintiff states as follows:

          1.        Defendants filed their Motion for Summary Judgment on June 26, 2018, making

Plaintiff’s deadline to respond July 10, unless otherwise ordered by the Court. (Doc. 64.)

          2.        Good cause exists for this extension because Plaintiff’s counsel and his wife have

their summer vacation scheduled from July 2 through July 9. Accordingly, Plaintiff requests a 2-

week extension, which would move the July 10 deadline to July 24.

          3.        This extension should not impact any other deadlines in this case. (See Case

Management and Scheduling Order, Docket No. 48, setting deadline to complete discovery at

February 8, 2019 and deadline for dispositive motions at March 8, 2019.)

          4.        This motion is being filed in order to allow Plaintiff sufficient time to respond to
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Defendants’ motion, accommodating Plaintiff’s counsel’s vacation plans, and not for the purpose

of delay or any other improper purpose. Defendants do not oppose this extension.

        WHEREFORE, Plaintiff requests that the Court extend Plaintiff’s deadline to respond to

Defendants’ Summary Judgment Motion from July 10 to July 24, 2018, and for such other relief

as is justified.



Dated: June 27, 2018                        Respectfully submitted,

                                            /s/ Cory S. Fein
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                                            Attorneys for Plaintiff


                            CERTIFICATE OF CONFERENCE

      I hereby certify that on June 26, 2018, I conferred with counsel for Defendants as to
whether they were opposed to this motion and they are not opposed.

                                                    /s/ Cory S. Fein
                                                    Cory S. Fein




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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 27, 2018 this motion was served via this Court’s ECF system
and thereby served on all counsel of record.

                                                   /s/ Cory S. Fein
                                                   Cory S. Fein




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